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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

              Plaintiff,
                                   v.          09-CR-055A(Sr)

GLANCE ROSS,

           Defendant.
_____________________________________


                                DECISION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. #11.



                              PRELIMINARY STATEMENT

              Presently pending before this Court is the defendant’s “Renewed Motion

for Bond.” Dkt. #72. The government filed a response to the instant motion (Dkt. #73),

and thereafter, the defendant filed an “Answer to Government’s Response to

Defendant’s Renewed Motion for Bond” (Dkt. #74). By his motion, the defendant is

requesting that this Court reverse its prior Order of Detention Pending Trial (Dkt. #6)

and order the defendant released on a “reasonable bond.” Dkt. #72, p.4. In its

response, the government argues that the defendant’s motion is not properly before this

Court, citing Title 18, United States Code, Section 3145(b) and stating “... Section

3145(b) specifically addresses the judicial review of detention orders and directs
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detained defendants to file appeal motions with the ‘court having original jurisdiction

over the offense,’ i.e., the District Court in this case.” Dkt. #73, p.3.



              The defendant is charged in an Indictment, along with seven other

defendants, with violating Title 21, United States Code, Sections 841(a)(1) and 846 and

Title 18, United States Code, Sections 1956(a)(1)(B)(I), 1956(h) and 2. Dkt. #1. The

defendant also faces a forfeiture allegation pursuant to Title 21, United States Code,

Sections 853(a)(1) and 853(a)(2). Id. Notably, Count 5 (forfeiture allegation) of the

Indictment specifically references the forfeiture of the sum of $170,000 in United States

currency seized on or about December 11, 2008. Id.



              The defendant was arrested on or about February 26, 2009 and appeared

before this Court to be arraigned that same day. During the arraignment, the defendant

advised that he had retained counsel to represent him and by reason of the

government’s motion to detain the defendant pending trial, a detention hearing was

scheduled for March 5, 2009. The detention hearing was held on March 5, 2009 and

following the hearing, this Court issued its Order of Detention Pending Trial on March 6,

2009. Dkt. #6. During the detention hearing, the government proceeded by way of

proffer and at the outset proffered the Indictment in the instant case, as well as the

Criminal Complaints (and the affidavits upon which they were based) in cases 09-MJ-41

and 09-MJ-42. Thereafter, the government relied on the rebuttable presumption in the

Bail Reform Act that no condition or combination of conditions would reasonably assure

the appearance of the defendant as required and the safety of the community, where,

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as here, the defendant is charged with an offense in violation of the Controlled

Substances Act. See Title 18, United States Code, Section 3142(e)(3)(A). The

government further argued that the defendant posed both a flight risk and a danger to

the community.



              In response to the government’s proffer and in an effort to rebut the

presumption of detention, the defendant’s counsel proposed that the defendant be

released on bail with a combination of cash and property to be posted by family

members of the defendant. In addition, defendant’s counsel argued that the defendant

does not pose a risk of flight and in fact, when the defendant learned of the charges

against him he was in a car driving to North Carolina and the defendant immediately

contacted his attorney and made arrangements to turn himself in.



              Specifically, this Court’s March 10, 2009 Order of Detention Pending Trial

states in pertinent part,

              I am not impressed with the claim of the government that
              there is a risk of flight, so my decision is not based on risk of
              flight. I have looked at the totality of the circumstances and
              have applied my own professional experience both as a
              practicing attorney as well as a sitting judge, in the context of
              what has been developed, starting with the defendant’s own
              admissions in the Pretrial Services Report that he has not
              been employed since 2007. I have also considered the
              affidavit upon which the Criminal Complaint is based, as well
              as the finding of the grand jury in the return of the
              Indictment, and what the government has proffered in the
              way of not only the safety deposit box containing $170,000
              but also the seizure of $215,000 in the vehicle. That is a lot
              of money for anybody to have available. Recognizing
              defendant counsel’s advocacy on the issue of no evidence

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             presented by the government of any sales between the
             defendant and others, the Indictment and the affidavit upon
             which the Criminal Complaint is based describe the
             defendant Ross as a “kingpin” or a “prime principal.”
             Professional experience has demonstrated that the
             “kingpins” or the “prime principals” do not actually go out and
             make the transactions. They run the operations. These are
             circumstances that I must take into account and that I must
             consider. I consider these circumstances in the context of
             the presumption that has been created. When I view the
             circumstances as iterated above and take into account all of
             the detail on the wiretap disclosures made in the affidavit
             supporting the Criminal Complaint, those circumstances
             cause me to conclude that what has been proffered on
             behalf of the defendant does not rise to the level so as to
             cause the presumption created in the Bail Reform Act to be
             rebutted. Therefore, I am granting the government’s motion
             and hereby order the defendant detained and remand him to
             the custody of the U.S. Marshals Service.

Dkt. #6, pp.3-4.



             Nearly ten months later, the defendant (by his newly retained counsel)

filed the instant motion titled “Renewed Motion for Bond.” Dkt. #72. In the motion, the

defendant quarrels with this Court’s statements concerning the $170,000 seized from a

safety deposit box and the $215,000 seized from a vehicle. Id. at p.2. Specifically, the

defendant claims that the safety deposit box neither belonged to nor was registered to

the defendant. Id. Moreover, the defendant argues that the government did not proffer

any evidence to support a conclusion that the defendant was a signatory or ever

entered the safety deposit box at any time. Id. With respect to the $215,000, the

defendant asserts that the seizure of that money from a vehicle owned by a co-

defendant “[had] absolutely nothing to do with this defendant.” Id. Finally, the



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defendant disputes this Court’s description of the defendant as a “kingpin” or “prime

principal.” Id.



                 In addition to the foregoing, counsel for the defendant seeks to compare

this defendant to co-defendant Eric Marshall and this Court’s decision to release co-

defendant Marshall after an initial Order of Detention Pending Trial. During oral

argument held on defendant Eric Marshall’s motion (filed under seal) based on changed

circumstances, the government indicated that it did not have an objection to the release

of defendant Eric Marshall on conditions. Moreover, it was noted that at the time of his

arraignment and the detention hearing, Pretrial Services had in fact recommended that

the defendant be released on bail subject to certain conditions. In its “Answer to

Government’s Response to Defendant’s Renewed Motion for Bond,” counsel for the

defendant again compares this defendant to co-defendant Eric Marshall and disagrees

with the government’s position that this matter is not properly before this Court. Indeed,

counsel for the defendant states, in part,

                 [w]hen co-defendant Eric Marshall requested a bail review
                 hearing in absolutely identical circumstances as defendant
                 Glance Ross, the Court granted such a hearing and
                 released him on bond. ... If that procedure were correct for
                 defendant Eric Marshall, it should also be correct for
                 defendant Glance Ross. Defendant Glance Ross asked for
                 the same treatment and equal protection under the law as
                 granted to his co-defendant Eric Marshall.

Dkt. #74, p.2.




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              Notably, counsel for the defendant overlooks a very significant distinction

between the instant motion and the circumstances surrounding the release of co-

defendant Eric Marshall, to wit, the existence of changed circumstances as presented

in the sealed motion filed by counsel for Eric Marshall. Here, the instant motion is

devoid of any mention of changed circumstances as required by Title 18, United States

Code, Section 3142(f)(2)(B).1 In the absence of any information not known to the

movant at the time of the hearing, this Court does not consider the instant motion to be

one for reconsideration based on changed circumstances and further, the government

is correct that this matter should be presented as an appeal to the District Judge to

whom this case is assigned, United States District Judge Richard J. Arcara.

Accordingly, based on the foregoing, the defendant’s “Renewed Motion for Bond” is

denied.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.




       1
         Title 18, United States Code, 3142(f)(2)(B) provides in pertinent part that a
detention “hearing may be reopened, before or after a determination by a judicial
officer, at any time, before trial if the judicial officer finds that information exists that was
not known to the movant at the time of the hearing and that has a material bearing on
the issue whether there are conditions of release that will reasonably assure the
appearance of such person as required and the safety of any other person and the
community.”

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              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of




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Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             January 14, 2010



                                       s/ H. Kenneth Schroeder, Jr.
                                       H. KENNETH SCHROEDER, JR.
                                       United States Magistrate Judge




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